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                   EXHIBIT D
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                     THIRD PARTY PAYORS REQUESTING EXTENSIONS
                      TO COMPLETE PLAINTIFF FACT SHEETS AND/OR
                   TO PROVIDE CORRESPONDING DATA AND DOCUMENTS

    No.    Plaintiff                   Case No.           Counsel          Code 1     Reason(s) for Delay
    1.     Roofers Local 8             19-op-46147        Mark Tate        2          Optum Rx has
           WBPA Fund                                                                  objected to subpoena
    2.     Laborers Local 235          19-op-45792        Mark Tate        3, 5       Express Scripts
           Welfare Fund LIUNA                                                         (“ESI”) has been
                                                                                      subpoenaed
    3.     Painting Industry           19-op-45793        Mark Tate        3          ESI has been
           Insurance Fund                                                             subpoenaed
    4.     Structural Steel 806        19-op-45831        Mark Tate        3          ESI has been
           Health Plan                                                                subpoenaed
    5.     AFL-CIO Local 475           19-op-45941        Mark Tate        2, 4       - Optum Rx has
           Health & Welfare                                                           objected to subpoena;
           Fund                                                                       - Awaiting data from
                                                                                      CVS;
                                                                                      - Awaiting data from
                                                                                      Alicare for 2015-2016
    6.     IUOE Local 138              19-op-45943        Mark Tate        2          Optum has objected to
           Health Benefit Fund                                                        subpoena
    7.     United Crafts Benefits      19-op-45945        Mark Tate        2, (4)     - Optum has objected
           Fund                                                                       to subpoena;
                                                                                      - Empire BCBS data
                                                                                      seems inaccurate and
                                                                                      may be supplemented
    8.     Uniformed Fire              19-op-45946        Mark Tate        3          ESI has been
           Officers Association                                                       subpoenaed
           Benefits Fund
    9.     United Wire, Metal &        19-op-46105        Mark Tate        3          ESI has been
           Machine Local 810                                                          subpoenaed
           Health Benefit Fund
    10.    Teamsters Local 445         19-op-46146        Mark Tate        3, 4       - ESI has been
           Welfare Fund                                                               subpoenaed;
                                                                                      - MVP Healthcare
                                                                                      provided data only for
                                                                                      2018-2019

1
    Codes are as follows:
      1. Unable to complete the PFS
      2. Unable to make a substan�al produc�on of pharmacy data (per Exhibit B)
      3. Unable to produce “total amount billed” ﬁeld of the pharmacy data (columns included on the Exhibit B)
      4. Unable to make a substan�al produc�on of medical healthcare data (per Exhibit C)
      5. Unable to produce any formularies
      6. Unable to produce any Summary Plan Descrip�ons (“SPDs”)
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No.   Plaintiff               Case No.      Counsel     Code 1     Reason(s) for Delay
11.   Iron Workers Local 40   20-op-45027   Mark Tate   2          Optum has objected to
      Health Fund                                                  subpoena
12.   Iron Workers Local      20-op-45028   Mark Tate   2          Optum has objected to
      361 Health Fund                                              subpoena
13.   Iron Workers Local      20-op-45029   Mark Tate   2          Optum has objected to
      417                                                          subpoena
14.   UFCW Local 342          20-op-45033   Mark Tate   2, 3, 5    - ESI has been
      Healthcare Fund                                              subpoenaed;
                                                                   - Awaiting all data
                                                                   from EmpiRx
                                                                   - Still attempting to
                                                                   collect formularies
15.   UFCW Local 342          20-op-45034   Mark Tate   2, 3, 4,   - ESI has been
      Welfare Fund                                      5          subpoenaed;
                                                                   - Awaiting all data
                                                                   from EmpiRx;
                                                                   - Empire BCBS data
                                                                   seems inaccurate and
                                                                   may be supplemented
                                                                   - Still attempting to
                                                                   collect formularies
16.   UFCW Local 1500         20-op-45041   Mark Tate   3, (4)     - ESI has been
      Welfare Fund                                                 subpoenaed;
                                                                   - Empire BCBS data
                                                                   seems inaccurate and
                                                                   may be supplemented
17.   Teamsters Local 456     21-op-45067   Mark Tate   2, 4, 5    - Optum has objected
      Welfare Fund                                                 to subpoena;
                                                                   - Empire BCBS data
                                                                   seems inaccurate and
                                                                   may be supplemented
                                                                   - Still attempting to
                                                                   collect formularies
18.   Brighton Health Plan    19-op-45837   Mark Tate   2          Awaiting data from
      Solutions d/b/a                                              PBM, Elixir
      MagnaCare Admin.
      Services
19.   Brighton Health Plan    19-op-45838   Mark Tate   2          Awaiting data from
      Solutions d/b/a                                              PBM, Elixir
      MagnaCare Admin.
      Services and
      Magnacare, LLC
20.   Building Services       19-op-45991   Mark Tate   (4)        Empire BCBS data
      Local 2 Welfare Fund                                         seems inaccurate and
                                                                   may be supplemented

                                            2
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No.   Plaintiff              Case No.      Counsel       Code 1     Reason(s) for Delay
21.   CWA 1182 & 1183        19-op-45794   Mark Tate     5          EmpiRx did not
                                                                    provide formularies
22.   Drywall Tapers         19-op-45810   Mark Tate     2, (4)     - PBM data for 2018-
      Insurance Fund                                                2019 has been
                                                                    uploaded, but,
                                                                    plaintiff’s
                                                                    representation that
                                                                    EmpiRx was PBM for
                                                                    remainder of time
                                                                    period was denied by
                                                                    EmpiRx
                                                                    - Empire BCBS data
                                                                    seem inaccurate and
                                                                    may be supplemented
23.   International          19-op-45832   Mark Tate     2          Awaiting data from
      Brotherhood of Trade                                          American Healthcare
      Unions Local 713                                              (now operating as
                                                                    Maxor)
24.   Local 381 Group        19-op-45942   Mark Tate     (4)        Empire BCBS data
      Insurance Fund                                                seem inaccurate and
                                                                    may be supplemented
25.   NOITU Insurance        19-op-45808   Mark Tate     4          Anthem BCBS data
      Trust Fund                                                    seem inaccurate and
                                                                    may be supplemented
26.   UOPW Local 175         19-op-45940   Mark Tate     (2), 5     - Broadreach Medical
                                                                    Resources, Inc.’s data
                                                                    seems inaccurate and
                                                                    may be supplemented
                                                                    - Plaintiff indicated no
                                                                    formularies for fund
27.   Cleveland Bakers and   18-op-45432   Paul Geller   3          Optum has been
      Teamsters Health &                                            subpoenaed
      Welfare Fund
28.   Laborers’ District     21-op-45019   Frank Voler   1, 2, 4,   No response from
      Council Building and                               5, 6       client
      Construction Health
      and Welfare Fund
29.   Employer-Teamsters     18-op-45446   Neil          1, 2, 4,   PBM/Administrator
      Local Nos. 175 & 505                 Henrichsen;   5, 6       has been delayed
      Health & Welfare                     Jonah                    providing information
      Fund                                 Grabelsky
30.   Employer-Teamsters     18-op-45446   Neil          1, 2, 4,   PBM/Administrator
      Local Nos. 175 & 505                 Henrichsen;   5, 6       has been delayed
      Retiree Health &                     Jonah                    providing information
      Welfare Fund                         Grabelsky

                                           3
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No.   Plaintiff              Case No.      Counsel       Code 1     Reason(s) for Delay
31.   Teamsters Local No.    18-op-45446   Neil          1, 2, 4,   PBM/Administrator
      348 Health & Welfare                 Henrichsen;   5, 6       has been delayed
      Fund                                 Jonah                    providing information
                                           Grabelsky
32.   Ohio Conference of     18-op-45446   Neil          1, 2, 4,   PBM/Administrator
      Teamsters & Industry                 Henrichsen;   5, 6       has been delayed
      Health And Welfare                   Jonah                    providing information
      Fund                                 Grabelsky
33.   Midwest Operating      19-op-45414   Jay           1, 2, 4,   MOE is working
      Engineers Health &                   Edelson;      5, 6       diligently with their
      Welfare Fund                         Michael                  PBM and Medical
      (“MOE”)                              Ovca                     Admin teams to
                                                                    gather the requested
                                                                    data as quickly as
                                                                    possible. Because of
                                                                    confusion about
                                                                    which TPPs were
                                                                    required to obtain this
                                                                    data in light of
                                                                    pending removal
                                                                    motions, MOE started
                                                                    this process later than
                                                                    other TPPs. MOE
                                                                    anticipates having the
                                                                    PFS completed by the
                                                                    original deadline, and
                                                                    providing much of the
                                                                    additional material
                                                                    requested as well.
                                                                    However, out of an
                                                                    abundance of
                                                                    caution, MOE
                                                                    requests an extension
                                                                    to ensure this process
                                                                    can be completed
                                                                    without prejudice to
                                                                    its case.




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No.   Plaintiff               Case No.      Counsel    Code 1     Reason(s) for Delay
34.   IUOE Local 150          19-op-45414   Jay        1, 2, 4,   Local 150 is
                                            Edelson;   5, 6       continuing to evaluate
                                            Michael               whether they intend to
                                            Ovca                  participate as a
                                                                  bellwether or
                                                                  otherwise continue
                                                                  their case in the MDL,
                                                                  including whether to
                                                                  dismiss their case or
                                                                  complete the PFS and
                                                                  obtain related
                                                                  material. They seek a
                                                                  brief extension to
                                                                  complete this
                                                                  process.
35.   Chicago Regional        19-op-45414   Jay        1, 2, 4,   CRCC is working
      Council of Carpenters                 Edelson;   5, 6       diligently with their
      Welfare Fund                          Michael               PBM and Medical
      (“CRCC”)                              Ovca                  Admin teams to
                                                                  gather the requested
                                                                  data as quickly as
                                                                  possible. Because of
                                                                  confusion about
                                                                  which TPPs were
                                                                  required to obtain this
                                                                  data in light of
                                                                  pending removal
                                                                  motions, the
                                                                  CRCC started this
                                                                  process later than
                                                                  other TPPs. CRCC
                                                                  anticipates having the
                                                                  PFS completed by the
                                                                  original deadline, and
                                                                  providing much of the
                                                                  additional material
                                                                  requested as well.
                                                                  However, out of an
                                                                  abundance of caution,
                                                                  CRCC requests an
                                                                  extension to ensure
                                                                  this process can be
                                                                  completed without
                                                                  prejudice to its case.



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No.   Plaintiff              Case No.      Counsel    Code 1     Reason(s) for Delay
36.   Intergovernmental      18-op-46210   Jay        1, 2, 4,   IRMA is working
      Risk Management                      Edelson;   5, 6       diligently with their
      Agency (“IRMA”)                      Michael               PBM and Medical
                                           Ovca                  Admin teams to
                                                                 gather the requested
                                                                 data as quickly as
                                                                 possible. This has
                                                                 included working
                                                                 with Corvell, IRMA’s
                                                                 PBM, to make sure
                                                                 that Al confidentiality
                                                                 concerns were
                                                                 addressed regarding
                                                                 plan information.
                                                                 Because of confusion
                                                                 about which TPPs
                                                                 were required to
                                                                 obtain this data in
                                                                 light of pending
                                                                 removal motions,
                                                                 IRMA started this
                                                                 process later than
                                                                 other TPPs. IRMA
                                                                 anticipates having the
                                                                 PFS completed by the
                                                                 original deadline, and
                                                                 providing much of the
                                                                 additional material
                                                                 requested as well.
                                                                 However, out of an
                                                                 abundance of
                                                                 caution, IRMA reques
                                                                 ts an extension to
                                                                 ensure this process
                                                                 can be completed
                                                                 without prejudice to
                                                                 its case.
37.   Intergovernmental      18-op-46210   Jay        1, 2, 4,   IPBC is working
      Personnel Benefit                    Edelson;   5, 6       diligently with their
      Cooperative (“IPBC”)                 Michael               PBM and Medical
                                           Ovca                  Admin teams to
                                                                 gather the requested
                                                                 data as quickly as
                                                                 possible. Because of
                                                                 confusion about

                                           6
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No.   Plaintiff                 Case No.      Counsel       Code 1     Reason(s) for Delay
                                                                       which TPPs were
                                                                       required to obtain this
                                                                       data in light of
                                                                       pending removal
                                                                       motions, IPBC started
                                                                       this process later than
                                                                       other TPPs. IPBC
                                                                       anticipates having the
                                                                       PFS completed by the
                                                                       original deadline, and
                                                                       providing much of the
                                                                       additional material
                                                                       requested as well.
                                                                       However, out of an
                                                                       abundance of caution,
                                                                       IPBC requests an
                                                                       extension to ensure
                                                                       this process can be
                                                                       completed without
                                                                       prejudice to its case.
38.   Eastern Atlantic States   18-op-45741   Jayne         2, 4, 5,   Eastern Atlantic State
      Carpenters Health                       Conroy;       6          Carpenters Health
      Fund                                    Sarah Burns              Fund is the product of
                                                                       a recent merger of
                                                                       two substantial funds:
                                                                       Carpenters Health &
                                                                       Welfare Fund of
                                                                       Philadelphia &
                                                                       Vicinity and
                                                                       Northeast Carpenters
                                                                       Health Fund. Plaintiff
                                                                       and its counsel are
                                                                       working diligently,
                                                                       alongside a data
                                                                       expert, to compile
                                                                       historic data sources
                                                                       across both merged
                                                                       funds in order to
                                                                       respond to 2, and 4.
                                                                       This may require that
                                                                       plaintiff serve a
                                                                       subpoena on ESI and
                                                                       if so, plaintiff will do
                                                                       so in short order.
                                                                       Plaintiff and its

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No.   Plaintiff               Case No.      Counsel     Code 1    Reason(s) for Delay
                                                                  counsel are also
                                                                  reviewing materials to
                                                                  compile a fulsome
                                                                  response to codes 5
                                                                  and 6
39.   Teamsters Local 671     18-op-45092   David       2, 4, 5   The PBMs have been
      Health Services &                     Cheverie              extremely slow to
      Insurance Plan                                              respond to our
                                                                  requests, however we
                                                                  have been informed
                                                                  that the outstanding
                                                                  requests for data,
                                                                  costs, and formularies
                                                                  will be provided
                                                                  within 10 business
                                                                  days.
40.   Laborers Local 17       18-op-45072   David       2, 4, 5   ESI was unresponsive
      Benefit Fund                          Cheverie              to our requests to
                                                                  provide data, however
                                                                  during the last
                                                                  discussion on August
                                                                  30, 2023, ESI agreed
                                                                  to provide the
                                                                  requested
                                                                  information. If ESI
                                                                  fails provide the
                                                                  information within the
                                                                  next two weeks our
                                                                  office will be serving
                                                                  a subpoena for the
                                                                  requested
                                                                  information.
41.   Local 493 Teamsters     18-op-45074   David       5         Administrator advised
      Health Services and                   Cheverie              that there were no
      Insurance Plan                                              formularies during
                                                                  that time
42.   Teamsters Health        18-op-45001   Frank       5         Administrator advised
      Service and Insurance                 Schirripa             that there were no
      Plan Local 404                                              formularies during
                                                                  that time




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 No.   Plaintiff             Case No.      Counsel      Code 1     Reason(s) for Delay
 43.   IBEW Local 716        20-op-45148   J. Nixon     4          The plaintiff has been
       Electrical Medical                  Daniel;                 trying to get Aetna to
       Trust                               Roe Frazer              provide the necessary
                                                                   medical information
                                                                   and has been told that
                                                                   it will not likely make
                                                                   the September 5
                                                                   deadline. The
                                                                   Plaintiff’s Fact Sheet
                                                                   with all other
                                                                   information will be
                                                                   filed on or before
                                                                   September 5, 2023
 44.   South Central UFCW 18-op-45998      J. Nixon     1, 2, 4,   The plaintiff has
       Unions and Employers                Daniel;      5, 6       completed the
       Health & Welfare                    Roe Frazer              narrative of the PFS
       Trust                                                       but cannot finalize the
                                                                   PFS without
                                                                   information related
                                                                   pharmacy and
                                                                   healthcare data which
                                                                   it is diligently trying
                                                                   to obtain. It is
                                                                   anticipated that it will
                                                                   not be able to obtain
                                                                   that information by
                                                                   the September 5, 2023
                                                                   deadline.
 45.   UFCW Local 1000       18-op-45733   J. Nixon     1, 2, 4,   The plaintiff has been
       Oklahoma Health and                 Daniel;      5, 6       unable to complete
       Welfare Fund                        Roe Frazer              the information
                                                                   required and does not
                                                                   think it will make the
                                                                   September 5, 2023
                                                                   deadline. It is
                                                                   currently working on
                                                                   gathering the
                                                                   information.




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 No.   Plaintiff               Case No.       Counsel       Code 1   Reason(s) for Delay
 46.   New York District       20-op-45095    Regina        2        The client’s PBM,
       Council of Carpenters                  Calcaterra;            Express Scripts, has
       Welfare Fund                           Anjori                 not provided data in
                                              Mitra                  the Excel spreadsheet
                                                                     format required. In
                                                                     order to put the data
                                                                     into the required
                                                                     format, thousands of
                                                                     data entries must be
                                                                     reviewed and input
                                                                     manually into the
                                                                     spreadsheet in the
                                                                     required format. Only
                                                                     a brief extension is
                                                                     needed.
 47.   Hollow Metal Trust      20-op-45094    Regina        2, 4     Plaintiff’s PBM, ESI,
       Fund                                   Calcaterra;            has not provided data
                                              Anjori                 in the Excel
                                              Mitra                  spreadsheet format
                                                                     required. In order to
                                                                     put the data into the
                                                                     required format,
                                                                     thousands of data
                                                                     entries must be
                                                                     reviewed and input
                                                                     manually into the
                                                                     spreadsheet in the
                                                                     required format.

                                                                     In addition, Plaintiff
                                                                     has sought the
                                                                     necessary data from
                                                                     its Third Party
                                                                     Medical Benefits
                                                                     Administrator, C&R
                                                                     Consulting, which
                                                                     provided Plaintiff
                                                                     with benefits between
                                                                     June 2005 and June
                                                                     2022. Because C&R
                                                                     Consulting no longer
                                                                     provides services to
                                                                     Plaintiff, C&R
                                                                     Consulting was
                                                                     initially unable to

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 No.   Plaintiff              Case No.       Counsel       Code 1     Reason(s) for Delay
                                                                      provide the necessary
                                                                      data to Plaintiff, and
                                                                      only this week
                                                                      advised that the data
                                                                      is now in external
                                                                      storage and may only
                                                                      be provided for a
                                                                      fee. Plaintiff is
                                                                      evaluating its options
                                                                      in retrieving this data
                                                                      including the
                                                                      possibility of a
                                                                      subpoena.

                                                                      Plaintiff has also
                                                                      experienced
                                                                      difficulties identifying
                                                                      its Medical Benefits
                                                                      Administrator for
                                                                      2002-June 2005 and is
                                                                      reviewing its records
                                                                      (many of which are
                                                                      not digitized) in order
                                                                      to identify this
                                                                      administrator so that a
                                                                      data request may be
                                                                      made.
 48.   Plumbers Local Union   18-op-45838    Regina        1, 2, 4,   A key contact has
       No. 1 Trust Fund                      Calcaterra;   5          been on PTO during
                                             Anjori                   the preparation of the
                                             Mitra                    PFS, which has
                                                                      slowed the
                                                                      completion of the
                                                                      PFS. Plaintiff has not
                                                                      been provided any
                                                                      pharmacy or medical
                                                                      data by its PBMs or
                                                                      Medical Benefits
                                                                      Administrators to date
                                                                      and Plaintiff will need
                                                                      to evaluate if further
                                                                      steps (such as
                                                                      subpoenas) are
                                                                      necessary or if the
                                                                      production of the data

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 No.   Plaintiff              Case No.       Counsel       Code 1   Reason(s) for Delay
                                                                    has simply been
                                                                    taking longer than
                                                                    anticipated. Plaintiff
                                                                    is also unable to
                                                                    locate any
                                                                    formularies.
 49.   Teamsters Local 237    18-op-45174    Regina        1, 2     A key contact has
       Retirees’ Benefit                     Calcaterra;            been on PTO during
       Fund and Teamsters                    Anjori                 the preparation of the
       Local 237 Welfare                     Mitra                  PFS, which has
       Fund                                                         slowed the
                                                                    completion of the
                                                                    PFS. In addition, the
                                                                    clients’ PBM has not
                                                                    provided data in the
                                                                    excel spreadsheet
                                                                    format required. In
                                                                    order to put the data
                                                                    into the required
                                                                    format, the data
                                                                    provided must be
                                                                    reviewed and input
                                                                    manually into the
                                                                    spreadsheet in the
                                                                    required format. Only
                                                                    a brief extension is
                                                                    needed.
 50.   Flint Plumbing and     19-op-45430    Hunter        2, 3     BCBS Michigan
       Pipefitting Industry                  Shkolnik;              produced the medical
       Health Care Fund                      Shayna                 data and has indicated
                                             Sacks                  the PBM data should
                                                                    arrive on the deadline
                                                                    however, as plaintiff’s
                                                                    counsel is not in
                                                                    possession of the data,
                                                                    it requests time to
                                                                    review the production
                                                                    before serving.
                                                                    Plaintiff will serve a
                                                                    subpoena if needed.
 51.   Ohio Carpenters’       19-op-45072    Hunter        3, 4     Plaintiff is in
       Health Fund                           Shkolnik;              communication with
                                             Shayna                 the PBM to
                                             Sacks                  supplement the data
                                                                    received to include

                                            12
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 No.   Plaintiff                Case No.       Counsel   Code 1     Reason(s) for Delay
                                                                    the missing column. It
                                                                    requests time to
                                                                    continue these
                                                                    discussions. Plaintiff
                                                                    will serve a subpoena
                                                                    if needed. As to 4, the
                                                                    administrator,
                                                                    Benesys, is
                                                                    cooperative but is
                                                                    requesting additional
                                                                    time to produce the
                                                                    data due to staff
                                                                    storage.
 52.   Local 22 Health          19-op-45811    Randi     1, 2, 4,   Plaintiff is unable to
       Benefit Fund                            Kassan    5, 6       provide the materials
                                                                    on the short deadline
                                                                    given and is working
                                                                    through the data.
 53.   Building Trades          19-op-45899    Randi     1, 2, 4,   Plaintiff is unable to
       Welfare Benefit Fund                    Kassan    5, 6       provide the materials
                                                                    on the short deadline
                                                                    given and is working
                                                                    through the data.
 54.   Southern Tier            20-op-45239    Randi     1, 2, 4,   Plaintiff is unable to
       Building Trades                         Kassan    5, 6       provide the materials
       Benefit Plan                                                 on the short deadline
                                                                    given and is working
                                                                    through the data.
 55.   International Union of   19-op-45854    Randi     1, 2, 4,   Plaintiff is unable to
       Painters an Allied                      Kassan    5, 6       provide the materials
       Trades 1974                                                  on the short deadline
                                                                    given and is working
                                                                    through the data.
 56.   Asbestos Workers         18-op-45542    Evan      2, 4       PBM and health
       Local 6 Health and                      Hoffman              administrator are no
       Welfare Fund                                                 longer the current
                                                                    administrators for the
                                                                    plan and gathering
                                                                    information from
                                                                    legacy administrators
                                                                    has been taking longer
                                                                    than anticipated. Data
                                                                    that the fund may
                                                                    have had in its
                                                                    possession when

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 No.   Plaintiff                  Case No.       Counsel   Code 1   Reason(s) for Delay
                                                                    those administrators
                                                                    were active is no
                                                                    longer in the fund’s
                                                                    possession. The fund
                                                                    is still determining the
                                                                    best way to obtain the
                                                                    information (i.e.
                                                                    subpoena or other
                                                                    means) and expects to
                                                                    have it shortly, though
                                                                    not by September 5.
 57.   MSP Recovery               18-op-45091    John      Not      Counsel represented
       Claims, Series LLP         And            Cleary;   Provid   that they can upload
                                  18-op-45526    Janpaul   ed       materials to be in
       (Counsel did not                          Portal             substantial
       provide individual                                           compliance for a
       TPP Assignor                                                 number of the
       information as to                                            Assignors in MSP’s
       which will meet the                                          case. However, for
       deadline and which                                           other assignors they
       will not respecting this                                     have reached out to
       Assignee for either                                          the entities to acquire
       case the Assignee                                            some missing
       filed)                                                       information.
 58.   MSPA Claims 1, LLP 18-op-45526            John      Not      Counsel represented
                                                 Cleary;   provid   that they can upload
       (Counsel did not                          Janpaul   ed       materials to be in
       provide individual                        Portal             substantial
       TPP Assignor                                                 compliance for a
       information as to                                            number of the
       which will meet the                                          Assignors in MSP’s
       deadline and which                                           case. However, for
       will not respecting this                                     other assignors they
       Assignee)                                                    have reached out to
                                                                    the entities to acquire
                                                                    some missing
                                                                    information.




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 No.   Plaintiff                  Case No.       Counsel   Code 1   Reason(s) for Delay
 59.   MAO-MSO Recovery           18-op-45526    John      Not      Counsel represented
       II, LLC                                   Cleary;   provid   that they can upload
                                                 Janpaul   ed       materials to be in
       (Counsel did not                          Portal             substantial
       provide individual                                           compliance for a
       TPP Assignor                                                 number of the
       information as to                                            Assignors in MSP’s
       which will meet the                                          case. However, for
       deadline and which                                           other assignors they
       will not respecting this                                     have reached out to
       Assignee)                                                    the entities to acquire
                                                                    some missing
                                                                    information.
 60.   Series 17-03-615, a        21-op-45079    John      Not      Counsel represented
       designated series of                      Cleary;   provid   that they can upload
       MSP Recovery                              Janpaul   ed       materials to be in
       Claims, Series LLC                        Portal             substantial
                                                                    compliance for a
       (Counsel did not                                             number of the
       provide individual                                           Assignors in MSP’s
       TPP Assignor                                                 case. However, for
       information as to                                            other assignors they
       which will meet the                                          have reached out to
       deadline and which                                           the entities to acquire
       will not respecting this                                     some missing
       Assignee)                                                    information.




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